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 4                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
 5

 6   UNITED STATES OF AMERICA,            )       NO. CR-07-136-LRS-2
                                          )
 7                       Plaintiff,       )
                                          )       ORDER GRANTING DEFENDANT’S
 8           vs.                          )       UNOPPOSED MOTION TO MODIFY
                                          )       CURFEW ON PRESENTENCE RELEASE
 9   RANDI TAPIA,                         )
                                          )
10                       Defendant.       )
                                          )
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              BEFORE THE COURT is Defendant’s Motion to modify the hours of
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     her curfew pending sentencing in this matter.                 The court having
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     reviewed the reasons for the request, and the Government and the
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     United States Probation Office having no objections,
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              IT IS ORDERED that the Motion (Ct. Rec. 181) is GRANTED.            The
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     conditions of Defendant’s release are MODIFIED as to the curfew
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     only.     Defendant is required to be home no later than 9:30 p.m. in
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     the evenings and may not leave home until 4:30 a.m. in the
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     mornings.       All other terms and conditions of release pending
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     Defendant’s sentencing remain in effect.
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              DATED December 9, 2008.
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23                              S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
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27   Order
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